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VIDEO CIVIL MOTION HEARING

       UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO

Date: April 24, 2023
Judge B. Lynn Winmill                       Deputy Clerk: Jamie Gearhart
Case No. 1:23-cv-142                        Reporter: Tammy Hohenleitner
Place: Video (Zoom)                         Time: 2:05 – 3:13 p.m.


Planned Parenthood Great Northwest, Hawaii, Alaska, Indiana, Kentucky, et al v. Raul Labrador,
et al

Counsel for Plaintiffs: Peter Neiman

Counsel for Defendant Raul Labrador: Lincoln Wilson, Brian Church, and Timothy Longfield

Counsel for St. Luke’s Health System: Wendy Olson


The court conducted oral argument via Zoom on Plaintiff’s Motion for Preliminary Injunction
(Dkt. 2).

The Court GRANTED St. Luke’s Health System Motion to File Amicus Curiae Brief (Dkt. 86)
and overruled defendants’ objection.

The Court GRANTED the States of Washington, Arizona, California, Colorado, Delaware,
Hawaii, Illinois, Maine, Minnesota, Nevada, New Jersey, New York, Oregon, Rhode Island, and
the District of Columbia’s Motion to File Amici Curiae Brief (Dkt. 94) and overruled defendants’
objection.

Responses to the Amicus Briefs are due by 5:00 p.m. on April 27, 2023.

The Court deemed the Motion for Preliminary Injunction (Dkt. 2) under advisement. A written
decision is forthcoming.
